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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 SIYING LIU, et al.,

                         Applicants,

                         v.                          Case No. 1:21-cv-01725 (TNM)

 ALEJANDRO MAYORKAS, in his official
 capacity as Secretary of Homeland Security,
 et al.,

                         Defendants,

                         and

 ITSERVE ALLIANCE, INC., et al.,

                         Intervenor-Defendants.



                                                  ORDER

          Upon consideration of the Applicants’ motion for summary judgment, Intervenor-

Defendants’ cross-motion for summary judgment, the Government’s cross-motion for summary

judgment, the pleadings, relevant law, and related legal memoranda in opposition and support,

for the reasons set forth in the accompanying Memorandum Opinion it is hereby

          ORDERED that the Applicants’ [33] Motion for Summary Judgment is DENIED; it is

further

          ORDERED that the Intervenor-Defendants’ [40] Cross-Motion for Summary Judgment

is GRANTED; it is further
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       ORDERED that the Government’s [42] Cross-Motion for Summary Judgment is

GRANTED IN PART insofar as it seeks summary judgment and DENIED IN PART insofar as it

argues the Applicants do not have standing.

       The Clerk of Court shall close the case. This is final, appealable order.

       SO ORDERED.



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Dated: March 1, 2022                                 TREVOR N. McFADDEN, U.S.D.J.




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